
PER CURIAM.
This is an appeal of an order summarily denying a motion under Florida Rule of Criminal Procedure 3.850. On appeal from a summary denial, this Court must reverse unless the postconviction record, see Fla. R.App. P. 9.141(b)(2)(A), shows conclusively that the appellant is entitled to no relief. See Fla. R.App. P. 9.141(b)(2)(D). Materials provided to this Court by the State do not remedy the trial court’s failure to attach such materials to *1128its order. Langdon v. State, 947 So.2d 460 (Fla. 3d DCA 2007), clarifying 31 Fla. L. Weekly D2487 (Fla. 3d DCA Oct. 4, 2006).
Because the record now before us fails to make the required showing, we reverse the order and remand for an evi-dentiary hearing or other appropriate relief. If the trial court again enters an order summarily denying the postconviction motion, the court shall attach record excerpts conclusively showing that the appellant is not entitled to any relief.
Reversed and remanded for further proceedings.
